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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF SOUTH CAROLINA
                               CHARLESTON DIVISION

Alphonso Haynesworth,                       )            C/A No. 2:16-CV-03623-CMC-MGB
                                            )
                             PLAINTIFF,     )
                                            )
                vs.                         )
                                            )           REPORT AND RECOMMENDATION
South Carolina Department of Mental Health )
(SCVTP), Kimberly Poholchuk, Cynthia Helff, )
Holly Scaturo, and Versie Bellamy,          )
                                            )
                             DEFENDANTS. )
                                            )


       The Plaintiff, pro se, brings this action against the South Carolina Department of Mental

Health (“DMH”) and several of DMH’s employees. The Plaintiff is currently in the custody of

the DMH pursuant to the South Carolina Sexually Violent Predator Act, S.C. Code §§ 44-48-10

through 170 (“SVPA”). This matter is before the court on Defendants’ Motion for Summary

Judgment. (Dkt. No. 35.) This matter is referred to the undersigned United States Magistrate

Judge for consideration. For the reasons stated herein, the undersigned recommends that

Defendants’ Motion for Summary Judgment (Dkt. No. 35) be granted.

       The Plaintiff brought this action on July 25, 2016, in the Court of Common Pleas for

Richland County. (Dkt. No. 1-1.) The Defendants removed this case to federal court on

November 14, 2016, (Dkt. No. 1.) The Plaintiff has vigorously pursued discovery in this case

and has filed several motions to compel (Dkt. Nos. 18, 22, 53), which have been ruled on by the

court. (Dkt. Nos. 49, 54, 77, 91, 99.) The Defendants filed Defendants’ Motion for Summary

Judgment on April 4, 2017. (Dkt. No. 35.) On the same day, pursuant to Roseboro v. Garrison,

528 F.2d 309 (4th Cir. 1975), the Plaintiff was advised of the dismissal procedure and the



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possible consequences if he failed to adequately respond to the motion. (Dkt. No. 37.) The

Plaintiff responded to the Defendants’ Motion in several filings on April 27, 2017; May 4, 2017;

and May 12, 2017. (Dkt. Nos. 40, 42, 45.) The DMH filed a reply brief on May 4, 2017. (Dkt.

No. 43.)

                                        Factual Background

        The Plaintiff is civilly committed under the SVPA and housed at the Broad River

Correctional Institute pursuant to a contract between DMH and the South Carolina Department

of Corrections (“SCDC”). (Dkt. Nos. 1-1, 35-1 at 1.) The Plaintiff alleges that on or about

February 26, 2016, Plaintiff reported to his job within the SVPA program in the clothing room of

the Edisto Unit. (Dkt. No. 1-1 at 9.) While there, two other residents came into the clothing

room, one of whom assaulted Plaintiff. (Id.) The resident who assaulted Plaintiff was on

temporary room restriction (“TRR”), which Plaintiff contends required constant monitoring of

the individual by DMH staff and for the individual to be confined to his room. (Id.) Plaintiff

alleges DMH staff did not properly monitor the individual, which allowed the resident to leave

his room and attack the Plaintiff. (Id. at 10-12.) The Plaintiff contends this failure on the staff’s

part was a result of their deliberate indifference. (Id.)

        Plaintiff further contends he was punished by Defendants Poholchuck and Huff as he was

referred to the Behavioral Management Committee (“BMC”) for this incident. (Id. at 9-10.) The

Plaintiff alleges that Defendants Poholchuck and Huff, through their positions on the BMC,

accused Plaintiff for working in the clothing room when he was supposed to be on leave, blamed

him for the attack, blamed him for allowing other residents into the clothing room when they are

not permitted to do so, and claimed that he failed to report the residents or the attack to staff.




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(Id. at 10-2.) The Plaintiff alleges that Defendants Scaturo and Bellamy upheld the decision by

the BMC. (Id. at 9.)

        The Plaintiff also claims that the named defendants covered up the DMH staff’s

negligence by failing to properly monitor the assailant while he was on TRR, and that then each

Defendant falsified incident reports regarding the matter. (Id. at 10-12.) Additionally, Plaintiff

claims he was suspended from his job assignment as a result of this incident. (Id. at 12.) Finally,

Plaintiff states the responses to his grievance appeal further show that he was blamed for the

incident. (Id. at 11.)

                                       Standard of Review

        Pursuant to Rule 56 of the Federal Rules of Civil Procedure, summary judgment “shall”

be granted “if the movant shows that there is no genuine dispute as to any material fact and that

the movant is entitled to judgment as a matter of law.” FED. R. CIV. P. 56(a). “Facts are

‘material’ when they might affect the outcome of the case, and a ‘genuine issue’ exists when the

evidence would allow a reasonable jury to return a verdict for the nonmoving party.” The News

& Observer Publ’g Co. v. Raleigh-Durham Airport Auth., 597 F.3d 570, 576 (4th Cir.

2010)(citing Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986)). In ruling on a motion

for summary judgment, “‘the nonmoving party’s evidence is to be believed, and all justifiable

inferences are to be drawn in that party's favor.’” Id. (quoting Hunt v. Cromartie, 526 U.S. 541,

552 (1999)); see also Perini Corp. v. Perini Constr., Inc., 915 F.2d 121, 123-24 (4th Cir. 1990).

                                            ANALYSIS

        The Complaint is organized into various “causes of action,” but many cite multiple

statutes from the United States Code and from the South Carolina Code. (Dkt. No. 1-1.) Some of

these causes of action are not clear as to what action the Plaintiff is attempting to bring.



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Broadly construing the Complaint (Dkt. No. 1-1), the Plaintiff brings the following causes of

action against all of the Defendants:

   1. Federal Claims
          a. 42 U.S.C. § 1983 claims
                  i. Cruel and Unusual punishment in violation of the Eighth Amendment
                 ii. Equal Protection and Due Process in violation of the Fourteenth
                     Amendment
          b. 42 U.S.C. § 1985 conspiracy claim
          c. 42 U.S.C. § 1986
   2. State Law Claims
          a. Gross Negligence
          b. Civil conspiracy
          c. Defamation
          d. Breach of bond required to be posted by public officials

   1. Federal Claims

       Before addressing the substance of the Plaintiff’s federal claims, the court concludes that

the DMH cannot be liable under §§ 1983, 1985, or 1986. DMH is a state agency. Therefore

they are not a “person” that may be liable under §§ 1983, 1985, or 1986. Coffin v. S.C. Dep't of

Soc. Servs., 562 F. Supp. 579, 586 (D.S.C. 1983) (dismissing plaintiff’s claims against South

Carolina Department of Social Services (“DSS”) and its board because “neither DSS nor the

Board of DSS is a ‘person’ within the meaning of 42 U.S.C. §§ 1983, 1985 and 1986.”). see also

Spellman v. City of Columbia Police Dep't, No. 9:12-cv-2376-TMC-BM, 2012 WL 5409626, at

*2 (D.S.C. Sept. 28, 2012) report and recommendation adopted, C/A No. 9:12-2376-TMC, 2012

WL 5408023 (D.S.C. Nov. 6, 2012) (holding “The City of Columbia Police Department is a

group of officers in a building and, as such, is not subject to suit under § 1983. Buildings and

correctional institutions, as well as sheriff's departments and police departments, usually are not

considered legal entities subject to suit.”). Therefore, the undersigned recommends that the

Defendants’ Motion be granted as to any federal claims against DMH.

           a. 42 U.S.C. § 1983 Claims

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       In order to state a claim pursuant to 42 U.S.C. § 1983, a plaintiff must allege (1) that he

or she “has been deprived of a right, privilege or immunity secured by the Constitution or laws of

the United States,” and (2) “that the conduct complained of was committed by a person acting

under color of state law.” Dowe v. Total Action Against Poverty in Roanoke Valley, 145 F.3d

653, 658 (4th Cir. 1998) (citing 42 U.S.C. § 1983); see also Gomez v. Toledo, 446 U.S. 635, 540

(1983); Hall v. Quillen, 631 F.2d 1154, 1155-56 (4th Cir. 1980). In a § 1983 action, “liability is

personal, based upon each defendant's own constitutional violations.” Trulock v. Freeh, 275 F.3d

391, 402 (4th Cir. 2001).

       The Plaintiff’s claims are not specific as to what claims are brought against which

Defendants. At the outset, the court notes that it is well settled that negligence is not actionable

under § 1983. See Daniels v. Williams, 474 U.S. 327, 328 (1986); Whitley v. Albers, 475 U.S.

312, 319 (1986); Pink v. Lester, 52 F.3d 73, 78 (4th Cir. 1995) (“The district court properly held

that Daniels bars an action under § 1983 for negligent conduct….”).

                    i. Eighth Amendment Claim

       As an initial matter, courts in this district have held that individuals civilly committed

under the SVPA have a custody status similar to that of a pretrial detainee. McClam v. Sparks,

No. 3:08-cv-2025-TLW-JRM, 2008 WL 3070913, at *2 (D.S.C. Aug. 1, 2008); Valbert v. S.C.

Dep't of Mental Health, No. 9:12-CV-01973-RBH, 2013 WL 4500455, at *9 (D.S.C. Aug. 20,

2013), aff'd, 549 F. App'x 179 (4th Cir. 2013); Haggwood v. Magill, No. CV 5:15-3271-RMG,

2016 WL 4149986, at *2 (D.S.C. Aug. 3, 2016). Conditions of confinement cases, which

include claims for failure to protect a confined person, for pretrial detainees are analyzed under

the Fourteenth Amendment, not the Eighth Amendment. Bell v. Wolfish, 441 U.S. 520, 537 n.16

(1979); see also Kingsley v. Hendrickson, 135 S. Ct. 2466, 2475, 192 L. Ed. 2d 416 (2015)



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(noting that the “The language of the [Eighth Amendment and Fourteenth Amendment] differs,

and the nature of the claims often differs.”). The Plaintiff has failed to state a claim under the

Eighth Amendment because the record in uncontroverted that the Plaintiff is civilly committed

under the SVPA. The undersigned recommends that the Defendants’ Motion be granted as to the

Plaintiff’s §1983 claims for violations of the Eighth Amendment. The undersigned will address

the Plaintiff’s failure to protect claims in the analysis of claims under the Fourteenth Amendment

infra.

                   ii. Fourteenth Amendment Claims

         The Plaintiff brings § 1983 claims alleging violation of his Fourteenth Amendment rights

to Due Process in his proceedings before the BMC and failing to protect him from the resident

who attacked him and for violating his right to Equal Protection. “Persons who have been

involuntarily committed are entitled to more considerate treatment and conditions of

confinement than criminals whose conditions of confinement are designed to punish.” Matherly

v. Andrews, 859 F.3d 264, 274 (4th Cir.), cert. denied, 138 S. Ct. 399, 199 L. Ed. 2d 294 (2017))

(quoting Youngberg v. Romeo, 457 U.S. 307, 321-22 (1982)).

         “In determining whether a substantive right protected by the Due Process Clause has

been violated, it is necessary to balance ‘the liberty of the individual’ and ‘the demands of an

organized society.’” Youngberg, 457 U.S. at 320 (quoting Poe v. Ullman, 367 U.S. 497, 542

(1961) (Harlan, J., dissenting)). Youngberg sets forth the test for determining whether an

involuntarily committed individual has been deprived of substantive due process rights. Id. The

Youngberg Court explained that a “decision, if made by a professional, is presumptively valid;

liability may be imposed only when the decision by the professional is such a substantial

departure from accepted professional judgment, practice, or standards as to demonstrate that the



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person responsible actually did not base the decision on such a judgment.” Id. at 323 (citations

omitted) (emphasis added). Moreover, the Fourth Circuit has stated that “liability under the due

process clause cannot be imposed for mere negligence, a principle reflected in the professional

judgment standard’s requirement of a substantial departure from accepted professional

judgment.” Patten v. Nichols, 274 F.3d 829, 842 (4th Cir. 2001).

       No genuine issue of material fact exists as to the Defendants’ liability regarding the

Plaintiff’s appearance before the BMC. The BMC is appointed by the director of the SVPA and

is comprised of at least four staff members from at least three different disciplines within the

program. (Dkt. No. 35-10 at 7.) The BMC reviews any violent, sexual, or otherwise

inappropriate behavior. (Dkt. No. 35-2 ¶ 11.) The BMC conducts hearings on each incident, and

residents before the committee are free to appear and present their versions of events. (Id.)

Residents do not have to attend their hearing or answer any questions. (Id.)

       The Plaintiff appeared before the BMC on March 2, 2016, following the altercation in the

clothing room on February 26, 2016. (Dkt. No. 35-7 at 5.) Defendants Helff and Poholchuk

were on the Plaintiff’s BMC. The Plaintiff alleges that his appearance before the BMC was

“punishment.” (Dkt. No. 1-1 at 9.) The Plaintiff alleges that Defendants Helff and Poholchuk

held the Plaintiff “liable” for the duties of DMH staff. (Id.) The Plaintiff alleges that Defendants

Helff and Poholchuk are liable because they concluded that he did not report that other residents

had entered the clothing room and did not report the attack as required. (Dkt. No. 1-1 at 9-10.)

The Plaintiff alleges that DMH staff was responsible for protecting the Plaintiff from attack and

that their “negligence” led to his injuries. (Id.) The BMC did not “officially infract” the Plaintiff.

(Dkt. No. 35-6.) As a result of the assault taking place in the clothing room, the room was closed

in the Edisto wing and consolidated with the Congaree wing. (Id.)



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       The Plaintiff appealed the decision to refer him to the BMC, which had not sanctioned

him, on a grievance form. (Dkt. No. 35-7 at 5.) The grievance was denied by Defendants

Scaturo, the program director. (Dkt. No. 35-7 at 4.) The Plaintiff appealed the denial by

Defendant Scaturo. (Dkt. No. 35-7 at 2.) The Plaintiff alleged that he was “suspended” from his

job. (Id.) The Plaintiff’s appeal was again denied by Defendant Bellamy. (Dkt. No. 35-7 at 1.)

       The Plaintiff has not put forth any evidence that Defendants Helff, Scaturo, Poholchuk, or

Bellamy’s actions were a substantial departure from professional standards. The Plaintiff was

referred to the BMC after being in a fight in his restricted work area. At the time of the incident,

the Plaintiff was on a two week break from his job and not allowed to be in his work area. (Dkt.

No. 35-2 at 4.) The BMC did not sanction the Plaintiff in any way. (Dkt. No. 35-6.) To the

extent that the Plaintiff argues that he was “suspended” from his job in the clothing room, his job

was eliminated for security reasons. The Plaintiff has not shown that eliminating the position

was a substantial departure from professional standards. There is no evidence that Defendants

Scaturo and Bellamy substantially departed from professional standards in their review of the

Plaintiff’s BMC proceeding. Many of the Plaintiff’s arguments are that these Defendants were

negligent. As stated supra, negligence is not actionable under § 1983.

       No genuine issue of material fact exists as to the Defendants’ liability regarding the

Defendants’ alleged failure to protect the Plaintiff under the Due Process clause. The Plaintiff

argues that the Defendants are liable for failing to protect him from attack because the resident

that attacked him was under a TRR. (Dkt. No. 1-1 at 9-10; 35-10 at 3.) The United States

Supreme Court has emphasized that “[l]iability under § 1983 ... requires personal involvement.”

Iqbal, 556 U.S. at 676. The Plaintiff has not produced any evidence Defendants Helff, Scaturo,

Poholchuk, or Bellamy had any personal involvement in his attack or that they were personally



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responsible for monitoring the resident that attacked the Plaintiff. The Plaintiff repeatedly alleges

that DMH “staff” failed to protect him. He has not alleged or shown that any of the named

Defendants failed to protect him. (Dkt. No. 1-1 at 9-10.)

       The Plaintiff argues that Defendants Scaturo and Bellamy are liable for failing to

supervise the DMH staff whose failure to protect him resulted in his attack. (Dkt. No. 1-1 at 10-

12, 15.) The doctrines of vicarious liability and respondeat superior are generally not applicable

in § 1983 actions. Vinnedge v. Gibbs, 550 F.2d 926, 927-29 (4th Cir. 1977); see also Monell v.

Dep’t of Soc. Servs. of City of N.Y., 436 U.S. 658, 691 (1978) (holding “that a municipality

cannot be held liable solely because it employs a tortfeasor–or, in other words, a municipality

cannot be held liable under § 1983 on a respondeat superior theory”). However, “supervisory

officials may be held liable in certain circumstances for the constitutional injuries inflicted by

their subordinates.” Slakan v. Porter, 737 F.2d 368, 372 (4th Cir. 1984).

       In such a case, liability “is not premised on respondeat superior, but on a recognition that

supervisory indifference or tacit authorization of subordinates’ misconduct may be a causative

factor in the constitutional injuries they inflict on those committed to their care.” Id. (citations

omitted). A plaintiff in a supervisory liability case “assumes a heavy burden of proof,” as the

plaintiff “not only must demonstrate that the prisoners face a pervasive and unreasonable risk of

harm from some specified source, but he must show that the supervisor’s corrective inaction

amounts to deliberate indifference or tacit authorization of the offensive practices.” Id. at 373

(internal quotation marks and citations omitted). Generally speaking, a plaintiff cannot satisfy

this heavy burden of proof “by pointing to a single incident or isolated incidents,” but “[a]

supervisor’s continued inaction in the face of documented widespread abuses . . . provides an




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independent basis for finding he either was deliberately indifferent or acquiesced in the

constitutionally offensive conduct of his subordinates.” Id. (citations omitted).

       The Plaintiff has not presented any evidence to show that Defendants Scaturo and

Bellamy were deliberately indifferent or tacitly authorized his attack. The Plaintiff has only

cited a single incident which is not sufficient to establish supervisory liability under § 1983. The

Complaint explicitly states that Defendants Scaturo and Bellamy are liable for a “constitutional

claim” “through their agents, servants, and employees.” (Dkt. No. 1-1 at 15.) The Complaint

alleges in another cause of action under § 1983 the “each defendant [is a] supervisory official”

and “owed a duty of care to Plaintiff.” The Plaintiff’s statements of law concerning supervisory

liability under §1983 are wrong. The Plaintiff has failed to present any evidence to support a

supervisory liability claim against any of the Defendants under federal law.

       As to the Plaintiff’s claim under the Equal Protection Clause, the Plaintiff has failed to

state a claim. The Equal Protection Clause provides that “[n]o state shall ... deny to any person

within its jurisdiction the equal protection of the laws.” U.S. Const. Amend. XIV, § 1. This

provision does not mandate identical treatment for each individual; rather, it requires that “all

persons similarly situated should be treated alike.” City of Cleburne v. Cleburne Living Center,

473 U.S. 432, 439 (1985). “To show that his equal protection right was violated, Plaintiff must

demonstrate that he was treated differently from similarly situated inmates and the discrimination

was intentional or purposeful.” Deleston v. Rivera, No. 6:11-2968-DCN-KFM, 2011 WL

7040906, at *6 (D.S.C. Dec. 27, 2011), report and recommendation adopted sub nom. Delston v.

Rivera, No. CA 6:11-2968 DCN, 2012 WL 135416 (D.S.C. Jan. 17, 2012), aff'd sub nom.

Deleston v. Rivera, 474 F. App’x 118 (4th Cir. 2012) (citing Williams v. Hansen, 326 F.3d 569

(4th Cir.2003)).



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          The Plaintiff has failed to produce any evidence that he was treated any differently than

other individuals committed under the SVPA. The Plaintiff has not alleged or provided any

evidence of how he was treated differently or how any other similarly situated individuals were

treated. Therefore, the undersigned recommends that the Defendants’ Motion be granted as to

the Plaintiff’s claims under §1983 that the Defendants violated the Plaintiff’s constitutional

rights.

             b. 42 U.S.C. § 1985 Conspiracy

          The Fourth Circuit has put forth a “relatively stringent standard for establishing section

1985 conspiracies.” Simmons v. Poe, 47 F.3d 1370, 1377 (4th Cir. 1995). To state a claim under

§ 1985(3), a Plaintiff must allege,

           (1) a conspiracy of two or more persons, (2) who are motivated by a specific
          class-based, invidiously discriminatory animus to (3) deprive the plaintiff of the
          equal enjoyment of rights secured by the law to all, (4) and which results in injury
          to the plaintiff as (5) a consequence of an overt act committed by the defendants
          in connection with the conspiracy.

Id.at 1376 (citations omitted). Additionally, the Plaintiff “must show an agreement or a ‘meeting

of the minds’ by defendants to violate the claimant's constitutional rights.” Id. at 1377.

          The Plaintiff alleges the following regarding a conspiracy:

          Each Defendant…administrated conspiracy through their DMH of [illegible word
          appearing to be “suptp”]administration to cover up the irresponsible acts of
          employees that created deliberate indifference, with culpable state of mind grossly
          conspired to hide, avoid, abolish, alter, amend, and unjustifiably rectify the
          misapprehensions of plaintiffs illegal entrapment to be a victim injured in the
          process that did not provoke the assault to happen to himself and suspended from
          that particular job for doing no more than what he where [sic] order and ask to
          work as 2/26/16 following 3/2/16.

(Dkt. No. 1-1 at 10.) The Plaintiff alleges that each of the Defendants “falsified incident reports”

and “gave perjured testimonies” to protect themselves from liability. Id.




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       The Plaintiff has not met the “relatively stringent standard” for establishing a conspiracy

under § 1985. The Plaintiff has not produced any evidence that to support his allegations that

any Defendants falsified incident reports or committed perjury. The Plaintiff did not produce

any evidence that the Defendants were “motivated by a specific class-based, invidiously

discriminatory animus.” The Plaintiff has not shown evidence of any injury resulting from a

conspiracy. The Plaintiff has failed to produce sufficient evidence of a § 1985 conspiracy to

survive summary judgment.

           c. 42 U.S.C. § 1986

       Section § 1986 imparts liability on individuals with knowledge of a conspiracy under §

1985, who have the power to stop the wrong, but neglect or refuse to stop the wrong. 42 U.S.C.

§ 1986. A claim under § 1986 is only viable where a proper § 1985 claim exists. Santistevan v.

Loveridge, 732 F.2d 116, 118 (10th Cir. 1984); Wilkins v. Good, No. 4:98-cv-233, 1999 WL

33320960, at *18 (W.D.N.C. July 29, 1999); Roberts v. Bodison, No. 2:14-cv-750-MGL-MGB at

*13-14 (D.S.C. November 20, 2015) report and recommendation adopted, No. 2:14-cv-750-

MGL 2015 WL 9581756 (D.S.C. Dec. 30, 2015). This court has recommended that no proper

§1985 claim exists. Therefore, this court recommends that the Defendants’ Motion be granted as

to the Plaintiffs’ claims brought under § 1986.

           d. Qualified Immunity

       The Defendants argue that they are entitled to qualified immunity. “Qualified immunity

shields government officials from civil liability insofar as their conduct does not violate clearly

established statutory or constitutional rights of which a reasonable person would have known.”

Hill v. Crum, 727 F.3d 312, 321 (4th Cir. 2013) (quoting Harlow v. Fitzgerald, 457 U.S. 800,

818 (1982)). Qualified immunity protects officers from liability for “bad guesses in gray areas”



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and bases liability on the violation of bright-line rules. Id. (quoting Braun v. Maynard, 652 F.3d

557, 560 (4th Cir. 2011)). To determine whether a defendant is entitled to qualified immunity,

the court must examine whether the defendant violated the Plaintiff’s constitutional or statutory

rights and, if so, whether the Defendant’s “conduct was objectively reasonable in view of the

clearly established law at the time of the alleged event.” Id. When viewing the facts in the light

most favorable to the Plaintiff, the Defendants did not violate any of the Plaintiff’s constitutional

or statutory rights. Therefore, the Defendants are entitled to qualified immunity on the Plaintiff’s

federal claims as well.

   2. State Law Claims

       The South Carolina Tort Claims Act (“the Act”), § 15-78-10 et seq., is the exclusive

remedy for any tort committed by an employee of a governmental entity. “An employee of a

governmental entity who commits a tort while acting within the scope of his official duty is not

liable therefor except…if it is proved that the employee's conduct was not within the scope of his

official duties or that it constituted actual fraud, actual malice, intent to harm, or a crime

involving moral turpitude.” S.C. Code Ann. § 15-78-70. The Act “governs all tort claims

against governmental entities.” Hawkins v. City of Greenville, 358 S.C. 280, 292, 594 S.E.2d

557, 563 (Ct. App. 2004) (citing Flateau v. Harrelson, 355 S.C. 197, 203, 584 S.E.2d 413, 416

(Ct.App.2003)). All governmental entities may be held liable for their torts as a private

individual would be liable subject to the limitations and exemptions of the Act. Id. (citing S.C.

Code Ann. § 15-78-40 (Supp. 2003)). S.C. Code Ann. § 15-78-30(d) defines “governmental

entity” as “the State and its political subdivisions.” The limitations and exemptions in the Act

must be liberally construed in order to limit the liability of the State. Id.

           a. Gross Negligence



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       Under the Act, the Plaintiff’s claim for gross negligence may only be brought against

DMH. The Plaintiff’s claim for gross negligence is not clear as to what duty the Plaintiff alleges

was breached by DMH. Liberally construing the Complaint, the Plaintiff alleges that DMH,

through its employees, was grossly negligent for failing to monitor the resident that attacked the

Plaintiff. (Dkt. No. 1-1 at 10.) The Supreme Court of South Carolina has defined gross

negligence as “the failure to exercise slight care.” and as “the intentional, conscious failure to do

something which it is incumbent upon one to do or the doing of a thing intentionally that one

ought not to do.” Steinke v. S.C. Dep't of Labor, Licensing & Regulation, 336 S.C. 373, 395, 520

S.E.2d 142, 153 (1999) (quotations and citations omitted).

       At the time the Plaintiff was attacked, the resident that attacked him was not required to

be in his room. (Dkt. No. 35-2 at ¶¶ 7, 9.) The Plaintiff has failed to present any evidence to

support that any DMH employee or any of the named Defendants intentionally and consciously

failed to monitor the resident that attacked the Plaintiff. The Plaintiff has failed to present any

evidence that DMH was grossly negligent in its monitoring of the resident that attacked the

Plaintiff. This court recommends that the Defendants’ Motion be granted as to the Plaintiff’s

gross negligence claim.

           b. Civil Conspiracy

       Under South Carolina law, “[t]he tort of civil conspiracy has three elements: (1) a

combination of two or more persons, (2) for the purpose of injuring the plaintiff, and (3) causing

plaintiff special damage. Hackworth v. Greywood at Hammett, LLC, 385 S.C. 110, 115, 682

S.E.2d 871, 874 (Ct. App. 2009). ““[I]n order to establish a conspiracy, evidence, direct or

circumstantial, must be produced from which a party may reasonably infer the joint assent of the

minds of two or more parties to the prosecution of the unlawful enterprise.” Pye v. Estate of Fox,



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369 S.C. 555, 567, 633 S.E.2d 505, 511 (2006) (quoting Island Car Wash, Inc. v. Norris, 292

S.C. 595, 601, 358 S.E.2d 150, 153 (Ct.App.1987)). “The gravamen of the tort of civil

conspiracy is the damage resulting to the plaintiff from an overt act done pursuant to the

combination, not the agreement or combination per se.” Id., at 567-68. “If a plaintiff merely

repeats the damages from another claim instead of specifically listing special damages as part of

their civil conspiracy claim, their conspiracy claim should be dismissed.” Hackworth, 385 S.C. at

117.

       As noted supra, the Plaintiff made jumbled allegations of a conspiracy. The Plaintiff has

not provided any evidence that a conspiracy actually existed outside his own unsupported

allegations that the Defendants conspired against him. The Plaintiff has not provided evidence

of any overt acts taken in furtherance of a conspiracy or that he suffered any injury because he

was not sanctioned by the BMC. This court recommends that the Defendants’ Motion be granted

as to the Plaintiff’s conspiracy claim.

           c. Defamation

       The Plaintiff argues that the Defendants are liable for defamation by “misrepresenting

facts” and for charging the Plaintiff “for being a victim of assault degrading gross negligence.”

(Dkt. No. 1-1 at 17.) Under South Carolina law, a plaintiff must show the following elements to

prove a defamation claim:

       (1) a false and defamatory statement was made;

       (2) the unprivileged publication was made to a third party;

       (3) the publisher was at fault; and

       (4) either actionability of the statement irrespective of special harm or the
       existence of special harm caused by the publication.




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Erickson v. Jones St. Publishers, L.L.C., 368 S.C. 444, 465, 629 S.E.2d 653, 664 (2006).

Defamation per se occurs when the meaning or message of the statement is obvious on its face.

Id. “Each act of defamation is a separate tort that, in most instances, a plaintiff must specifically

allege.” English Boiler & Tube, Inc. v. W.C. Rouse & Son, Inc., No. 97-2397, 1999 WL 89125,

172 F.3d 862 (Table)(4th Cir. 1999) (citing Caudle v. Thomason, 942 F.Supp. 635, 638

(D.D.C.1996) (“in order to plead defamation, a plaintiff should allege specific defamatory

comments [including] ‘the time, place, content, speaker, and listener of the alleged defamatory

matter.’”))

       The Plaintiff has not put forth any evidence to support his claim for defamation. The

Plaintiff has not provided what defamatory statements were made. The Plaintiff has not

provided the third party to whom the statements were published. The Plaintiff has failed to show

any evidence of damages he sustained as a result of the defamatory statements. This court

recommends that the Defendants’ Motion be granted as to the Plaintiff’s defamation claim.

              d. Breach of Bond

       The Plaintiff alleges that the Defendants have violated “Code 1962 § 50-76.” (Dkt. No. 1-

1 at 18.) The code section cited to by the Plaintiff is now codified as S.C. Code § 8-3-220, which

states, “The bond of any public officer in this State may at all times be sued on by the public, any

corporation or private person aggrieved by any misconduct of any such public officer.” This

code section does not provide an independent cause of action, but merely states that a bond

posted by a public officer may be “sued on” for any misconduct. This section cannot be read as

an independent cause of action outside of the Act. See Flateau v. Harrelson, 355 S.C. 197, 203,

584 S.E.2d 413, 416 (Ct. App. 2003) (The Act “governs all tort claims against governmental

entities and is the exclusive civil remedy available in an action against a governmental entity or



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its employees.”). Therefore, to the extent the Plaintiff is attempting to bring a cause of action for

misconduct of public employees under S.C. Code § 8-3-220, his claim fails.

                                         CONCLUSION

       Wherefore, it is RECOMMENDED that the Defendants’ Motion for Summary

Judgment (Dkt. No. 35) be GRANTED.

       IT IS SO RECOMMENDED.



January 31, 2018

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         Notice of Right to File Objections to Report and Recommendation

       The parties are advised that they may file specific written objections to this Report
and Recommendation with the District Judge. Objections must specifically identify the
portions of the Report and Recommendation to which objections are made and the
basis for such objections. “[I]n the absence of a timely filed objection, a district court
need not conduct a de novo review, but instead must ‘only satisfy itself that there is no
clear error on the face of the record in order to accept the recommendation.’” Diamond v.
Colonial Life & Acc. Ins. Co., 416 F.3d 310 (4th Cir. 2005) (quoting Fed. R. Civ. P. 72
advisory committee’s note).

       Specific written objections must be filed within fourteen (14) days of the date of
service of this Report and Recommendation. 28 U.S.C. § 636(b)(1); Fed. R. Civ. P. 72(b);
see Fed. R. Civ. P. 6(a), (d). Filing by mail pursuant to Federal Rule of Civil Procedure 5
may be accomplished by mailing objections to:

                                Robin L. Blume, Clerk
                             United States District Court
                                 Post Office Box 835
                           Charleston, South Carolina 29402

       Failure to timely file specific written objections to this Report and
Recommendation will result in waiver of the right to appeal from a judgment of the
District Court based upon such Recommendation. 28 U.S.C. § 636(b)(1); Thomas v.
Arn, 474 U.S. 140 (1985); Wright v. Collins, 766 F.2d 841 (4th Cir. 1985); United States v.
Schronce, 727 F.2d 91 (4th Cir. 1984).
